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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

NADINE LEE,                               )
                                          )
             Plaintiff,                   )
                                          ) CIVIL ACTION NO.
v.                                        )
                                          ) 1:21-cv-03854-ELR-AJB
RICKY L. CLARK, JR., individually         )
and in his official capacity as City      )
Manager for the City of Jonesboro;        )
WILFRED NORWOOD, individually             )
and in his official capacity as Interim   )
Chief of Police for the City of           )
Jonesboro; and THE CITY OF                )
JONESBORO, GEORGIA,                       )
                                          )
             Defendants.                  )

                 CERTIFICATE OF SERVICE OF DISCOVERY

      Come now Ricky L. Clark, Jr., Wilfred Norwood, and the City of

Jonesboro, Georgia, named as defendants in the above-styled action, pursuant to

Rule 26.3 of the Local Rules of the United States District Court, Northern District

of Georgia, and certifies service of the following:

      1. Response of Defendant Ricky L. Clark, Jr. to Plaintiff’s First Set of
         Requests for Admissions;

      2. Response of Defendant Ricky L. Clark, Jr. to Plaintiff’s First Set of
         Interrogatories;

      3. Response of Defendant Ricky L. Clark, Jr. to Plaintiff’s First Set of
         Requests for the Production of Documents;
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      4. Response of the City of Jonesboro, Georgia to Plaintiff’s First Set of
         Requests for Admissions;

      5. Response of the City of Jonesboro, Georgia to Plaintiff’s First Set of
         Interrogatories;

      6. Response of the City of Jonesboro, Georgia to Plaintiff’s First Set of
         Requests for Production of Documents;

      7. Response of Defendant Wilfred Norwood to Plaintiff’s First Set of
         Requests for Admissions;

      8. Response of Defendant Wilfred Norwood to Plaintiff’s First Set of
         Interrogatories; and

      9. Response of Defendant Wilfred Norwood to Plaintiff’s First Set of
         Requests for Production of Documents.

      The above-referenced documents were served by email and United States

mail to the following:

                               Andrew C. Salman
                             Prioleau & Milfort, LLC
                             3800 Camp Creek Pkwy
                             Building 1800, Suite 124
                               Atlanta, GA 30331
                            andrew@pmlawteam.com

      The undersigned, in accordance with L.R. 7.1 and 5.1 hereby certifies that

the typefont used herein is 13-Point Book Antiqua font.

      This 29th day of March, 2022.

                                             /s/Alex Joseph
                                             Harvey S. Gray
                                             Georgia Bar No. 305838
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                                          Alex Joseph
                                          Georgia Bar No. 590921
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                         CERTIFICATE OF SERVICE

      This is to certify that I have this day filed a copy of the foregoing

CERTIFICATE OF SERVICE OF DISCOVERY with the Clerk of Court using

the CM/ECF system which automatically electronically serve all counsel of

record.

      This 29th day of March, 2022.

                                          /s/ Alex Joseph
                                          Harvey S. Gray
                                          Georgia Bar No. 305838
                                          Alex Joseph
                                          Georgia Bar No. 590921
                                          Attorneys for Defendants

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